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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 1:19-cr-00140-RBJ

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. MATTHEW MARRE,

2. RYAN MEDHURST,

      Defendants.


                              SUPERSEDING INDICTMENT


The Grand Jury charges:

                                       COUNT 1

      Between and on or about June 23, 2018 through June 24, 2018, inclusive, in the

State and District of Colorado, the defendant, Matthew Marre, in interstate or foreign

commerce, did knowingly and intentionally obtain, and attempt to obtain, confidential

phone records information of a covered entity, to wit: Verizon Wireless, by making false

and fraudulent statements and representations to an employee of a covered entity; and,

by providing a document to a covered entity knowing that such document was false and

fraudulent.

      All in violation of Title 18, United States Code, Section 1039(a)(1) and (3).




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                                        COUNT 2

      Between and on or about September 15, 2018 through September 17, 2018,

inclusive, in the State and District of Colorado, the defendant, Matthew Marre, in

interstate or foreign commerce, did knowingly and intentionally obtain, and attempt to

obtain, confidential phone records information of a covered entity, to wit: T-Mobile, by

making false and fraudulent statements and representations to an employee of a

covered entity; and, by providing a document to a covered entity knowing that such

document was false and fraudulent.

      All in violation of Title 18, United States Code, Section 1039(a)(1) and (3).



                                        COUNT 3

      Between and on or about October 20, 2018 through October 22, 2018, inclusive,

in the State and District of Colorado, the defendant, Matthew Marre, in interstate or

foreign commerce, did knowingly and intentionally obtain, and attempt to obtain,

confidential phone records information of a covered entity, to wit: Verizon Wireless, by

making false and fraudulent statements and representations to an employee of a

covered entity; and, by providing a document to a covered entity knowing that such

document was false and fraudulent.

      All in violation of Title 18, United States Code, Section 1039(a)(1) and (3).




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                                        COUNT 4

       Between and on or about November 9, 2018 through November 22, 2018,

inclusive, in the State and District of Colorado, the defendant, Matthew Marre, in

interstate or foreign commerce, did knowingly and intentionally obtain, and attempt to

obtain, confidential phone records information of a covered entity, to wit: Sprint, by

making false and fraudulent statements and representations to an employee of a

covered entity; and, by providing a document to a covered entity knowing that such

document was false and fraudulent.

       All in violation of Title 18, United States Code, Section 1039(a)(1) and (3).



                                        COUNT 5

       Between and on or about July 13, 2018 through July 15, 2018, inclusive, in the

State and District of Colorado, the defendant, Matthew Marre, in interstate or foreign

commerce, did knowingly and intentionally obtain, and attempt to obtain, confidential

phone records information of a covered entity, to wit: T-Mobile, by making false and

fraudulent statements and representations to an employee of a covered entity; and, by

providing a document to a covered entity knowing that such document was false and

fraudulent.

       All in violation of Title 18, United States Code, Section 1039(a)(1) and (3).




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                                        COUNT 6

      Between and on or about August 26, 2018 through August 27, 2018, inclusive, in

the State and District of Colorado, the defendant, Matthew Marre, in interstate or foreign

commerce, did knowingly and intentionally obtain, and attempt to obtain, confidential

phone records information of a covered entity, to wit: T-Mobile, by making false and

fraudulent statements and representations to an employee of a covered entity; and, by

providing a document to a covered entity knowing that such document was false and

fraudulent.

      All in violation of Title 18, United States Code, Section 1039(a)(1) and (3).

                                        COUNT 7

      Between and on or about March 21, 2018 through March 23, 2018, inclusive, in

the State and District of Colorado, the defendant, Matthew Marre, together with others

both known and unknown to the Grand Jury, in interstate or foreign commerce, did

knowingly and intentionally obtain, and attempt to obtain, confidential phone records

information of a covered entity, to wit: T-Mobile, by making false and fraudulent

statements and representations to an employee of a covered entity; and, by providing a

document to a covered entity knowing that such document was false and fraudulent;

and further the defendant, Matthew Marre, together with others both known and

unknown to the Grand Jury, did knowingly or intentionally aid, abet, counsel, command,

induce and procure each others’ participation in the commission of said offense.

      All in violation of Title 18, United States Code, Sections 1039(a)(1) and (3) and 2.




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                                        COUNT 8

      On or about May 31, 2018, in the State and District of Colorado, the defendants,

Matthew Marre and Ryan Medhurst, together with each other, in interstate or foreign

commerce, did knowingly and intentionally attempt to obtain confidential phone records

information of a covered entity, to wit: AT&T, by making false and fraudulent

statements and representations to an employee of a covered entity; and further the

defendants, Matthew Marre and Ryan Medhurst, together with each other, did

knowingly or intentionally aid, abet, counsel, command, induce and procure each

other’s participation in the commission of said offense.

      All in violation of Title 18, United States Code, Sections 1039(a)(1) and 2.



                                                A TRUE BILL:



                                                Ink Signature on File in Clerk’s Office
                                                FOREPERSON

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